                                                                                Motion GRANTED.




                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


 UNITED STATES OF AMERICA                     )
                                              )      No. 3:09-00215-3
 v.                                           )      Judge Trauger
                                              )
 VERONICA GLENN GONZALEZ                      )

                                   MOTION TO SEAL

        The United States of America, by and through the Assistant United States

 Attorney, Lynne T. Ingram, respectfully moves this Court to place under seal the plea

 agreement in this case, docket entry 110.

                                                     Respectfully submitted,

                                                     EDWARD M. YARBROUGH
                                                     United States Attorney for the
                                                     Middle District of Tennessee


                                                     s/ Lynne T. Ingram
                                                     LYNNE T. INGRAM
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